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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS


 KELLIN JOHNS and JUAN BARRON,
 individually and on behalf of all others
 similarly situated,
                                                      Case No. 3:20-cv-00264-DWD
                              Plaintiffs,
                                                      Hon. David W. Dugan
                       v.

 PAYCOR, INC.,

                              Defendant.




                              DEFENDANT’S MOTION FOR
                                SUMMARY JUDGMENT



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       Defendant, Paycor Inc. (“Paycor”), by its undersigned counsel, pursuant to Rule 56 of the

Federal Rules of Civil Procedure and Rule 56.1 of the Southern District of Illinois Local Rules,

hereby moves for summary judgment on the First Amended Class Action Complaint

(“Complaint”) filed by Plaintiffs, Kellin Johns (“Plaintiff Johns”) and Juan Barron (“Plaintiff

Barron”) (collectively, “Plaintiffs”), and in support thereof, states as follows:

                 LOCAL RULE 56.1 STATEMENT OF MATERIAL FACTS

       1.      Paycor is in the business of providing recruiting, human resources, and payroll

solutions to clients throughout the United States. (Goodwin Decl., Ex. A, ¶ 1).

       2.      In August 2015, Paycor entered into separate contracts with individual Club Fitness

companies (“Club Fitness”) in Illinois and Missouri to provide payroll and related services,

including leasing them timeclocks (the “Club Fitness Agreements”). (Goodwin Decl., Ex. A, ¶ 6,

and Club Fitness Agreements, Exs. 3-4 thereto).

       3.      All Club Fitness entities in Illinois and Missouri ceased being Paycor clients as of

June 1, 2016, and are considered “lost” clients. (Goodwin Decl., Ex. A, ¶ 5).

       4.      During the timeframe October 2, 2015 – April 26, 2016, Plaintiff Johns was paid

from and worked for one of the aforementioned Club Fitness companies, Aphel Bill Serv LC

(Client 78890), located in Chesterfield, Missouri. (Goodwin Decl., Ex. A, ¶ 8).

       5.      Plaintiff Johns’ employer, Aphel Bill Serv LC (Client 78890), located in

Chesterfield, Missouri, had its own agreement with Paycor for Paycor to provide payroll and

related services (the “Missouri Agreement”). (Goodwin Decl., Ex. A, ¶ 9, and Missouri

Agreement, Ex. 3 thereto).

       6.      During the timeframe October 2, 2015 – April 30, 2016, Plaintiff Barron was paid

from and worked for another of the aforementioned Club Fitness companies, CF Collinsville LLC

(Client 78986), located in Collinsville, Illinois. (Goodwin Decl., Ex. A, ¶ 14).


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        7.     Plaintiff Barron’s employer, CF Collinsville LLC (Client 78986), located in

Collinsville, Illinois, had its own agreement with Paycor for Paycor to provide payroll and related

services (the “Illinois Agreement”). (Goodwin Decl., Ex. A, ¶ 15, and Illinois Agreement, Ex. 4

thereto).

        8.     Each Club Fitness location was organized as a separate Paycor client, with its own

timekeeping and payroll set-up. (Goodwin Decl., Ex. A, ¶ 7).

        9.     Club Fitness entities, including the Missouri and Illinois clients where Plaintiffs

respectively worked, were not set up to, and did not share, timekeeping or payroll data, nor was it

possible for the Club Fitness entities to share payroll or timekeeping data because each had its own

federal employer identification number (“FEIN”). (Goodwin Decl., Ex. A, ¶¶ 7, 10, 16; Dahdaly

Dep., Ex. B, 134:17-135:13).

        10.    As part of the Agreements, the Missouri and Illinois clients where Plaintiffs

respectively worked each leased one PT 100 timeclock, manufactured by ZK Technology, for use

solely at their respective work locations. (Goodwin Decl., Ex. A, ¶¶ 10, 16; Dahdaly Dep., Ex. B,

31:24-32:2, 44:11-18).

        11.    All of Paycor’s clients, including Illinois Client 78986, where Plaintiff Barron

worked and used its sole PT 100 timeclock, and Missouri Client 78890, where Plaintiff Johns

worked and used its sole PT 100 timeclock, individually choose whether to use finger-sensors,

proximity badges, or employee IDs as part of the process of clocking in and out of work. (Goodwin

Decl., Ex. A, ¶¶ 10, 16; Dahdaly Dep., Ex. B, 47:5-48:17).

        12.    Once timeclocks were delivered to each individual Club Fitness entity, including

Illinois Client 78986, where Plaintiff Barron worked, and Missouri Client 78890, where Plaintiff

Johns worked, Paycor had no involvement in the daily operation and use of the timeclocks – they




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were used, operated, managed, and overseen exclusively by each individual Club Fitness entity.

(Goodwin Decl., Ex. A, ¶¶ 10, 16; Dahdaly Dep., Ex. B, 90:13-91:13).

       13.    Upon first using a timeclock at a Club Fitness location, the location’s employees

were enrolled by Club Fitness into the timeclock, using their unique Club Fitness badge ID

number. (Dahdaly Dep., Ex. B, 50:13-51:10).

       14.    Club Fitness entities, including Illinois Client 78986, where Plaintiff Barron

worked, and Missouri Client 78890, where Plaintiff Johns worked, were responsible for enrolling

their own employees in the timeclocks; Paycor had no involvement in employee enrollment.

(Goodwin Decl., Ex. A, ¶¶ 11, 17; Dahdaly Dep., Ex. B, 50:20-51:10, 92:16-22).

       15.    To enroll, an employee places the central portion of the tip of their finger on the

scanner, and the timeclock immediately generates a “template” based on the landmarks of the

fingertip. (Dahdaly Dep., Ex. B, 51:11-53:6, 52:13-53:6, 93:18-94:11;                 , Ex. C,

                                                      ).

       16.    A “template” is an encrypted hash of numbers, letters, and symbols that is generated

using an algorithm proprietary to the manufacturer of the timeclock. (Dahdaly Dep., Ex. B, 51:11-

53:6, 93:18-96:18, 98:2-13, 124:21-125:15;                 , Ex. C,

                           ).

       17.    Paycor’s former Director of Product Management, Mitri Dahdaly, testified:

       [I]t is not a fingerprint. We do not capture – we do not believe we capture
       fingerprints. We take the scan of the finger. A fingerprint is physical. It can be
       reproduced. I can physically view it and see it. And what we have is a template that
       is based on an algorithm that uses specific landmarks on the tip of the finger to
       calculate a value that represents a person.

(Dahdaly Dep., Ex. B, 52:13-53:6).

       18.    Mr. Dahdaly testified:




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       … [A] template is comprised of essentially coordinates for landmarks on a subset
       of a finger, in this case with this device, and then those coordinates are put into an
       algorithm, and a numeric representation is created. And that’s what we store is the
       numeric representation of a collection of landmarks from a finger. There is no way
       to reverse-engineer that back into a fingerprint. There is essentially no use – I would
       never even be able to tell you who that template belonged to . . . in isolation, that
       template, it has no value or meaning. It can’t be used for anything.

(Dahdaly Dep., Ex. B, 93:18-94:11).

       19.    Mr. Dahdaly testified:

       What we get out of or put into a template is a hash of numbers that’s created based
       on a scan of the finger, but at no point could we take that and recreate the print from
       it. At no point could we do anything other than try and create the template again to
       see if we can match it with an existing template. So just having the presence of the
       finger there without the algorithm and that specific scanner, I would have no
       recourse to know whose it is or what it is exactly.

(Dahdaly Dep., Ex. B, 124:21-125:15).

       20.




                             (Dahdaly Dep., Ex. B, 50:20-51:10, 94:12-23;                    , Ex. C,

                                                           ).

       21.    A template cannot be used to identify any individual. (Dahdaly Dep., Ex. B, 93:18-

94:11, 124:21-125:15;                  Ex. C,

  ).

       22.    A template cannot be reverse engineered into a fingerprint, finger geometry, an

illustration or depiction of a person’s finger, or any form of biometric identifier or biometric

information. (Dahdaly Dep., Ex. B, 93:18-94:11, 124:21-125:15;                     Ex. C,

                                                   ). It is impossible. (Id.).




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        23.      The timeclock does not collect or store, and is therefore not capable of creating or

producing, an image of a user’s fingerprint or finger geometry, or any other depiction or illustration

of a person’s finger. The only information generated by and stored by the timeclock is a user’s

template. (Dahdaly Dep., Ex. B, 51:11-53:6, 52:13-53:6, 93:18-97:4, 124:21-125:15;

     , Ex. C,                                                                ).

        24.



        25.      It is impossible to identify a person using any information collected, generated or

stored by the timeclock, i.e., a template. (Dahdaly Dep., Ex. B, 93:18-94:11, 124:21-125:15;

              ., Ex. C,                                                               ).

        26.      Clients control their employees’ templates, as they are stored on their own

timeclocks – here, at each Club Fitness entity, including the locations where Plaintiffs worked.

(Goodwin Decl., Ex. A, ¶ 20; Dahdaly Dep., Ex. B, 20:18-24, 55:15-20).

        27.      Each client has a dedicated environment. Encrypted templates are also

automatically transmitted upon enrollment to a tenant-segregated database for storage, in the

client’s dedicated environment. (Goodwin Decl., Ex. A, ¶ 20; Dahdaly Dep., Ex. B, 20:18-24,

55:15-20;                 ., Ex. C,                                                        ).

        28.      Mr. Dahdaly testified regarding the lack of control Paycor has over template data

at all stages of the process, testifying as follows:

        [T]he customer is in complete control of when a template is created, when a
        template is completed, and whether an employee has to use a template or not.
        Paycor does not control that… the reality is control of the template still resides with
        the customer. The customer has the ability to create it, the customer has the ability
        to delete it, and the customer has the ability to require an employee to create one.
        We have no say in any of those activities.




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(Dahdaly Dep, Ex. B, 92:16-19; 91:8-13;                , Ex. C,

                    ).

          29.   Templates stored on the dedicated environment in the tenant-segregated database,

such as those stored by Illinois Client 78986 where Plaintiff Barron worked, are not stored with

any personally identifying information, such as employee names, addresses, email addresses,

phone numbers, birthdates, or social security numbers. (Goodwin Decl., Ex. A, ¶ 21;              .,

Ex. C,                                                        ).

          30.   Template data that was stored within each Club Fitness entity’s dedicated

environment in the tenant-segregated database was controlled by and accessible to each such Club

Fitness entity at all times, remaining at all times within each Club Fitness entity’s dedicated

environment. (Goodwin Decl., Ex. A, ¶¶ 20, 22; Dahdaly Dep., Ex. B, 55:1-20, 91:5-92:22;

     , Ex. C,                                                        ).

          31.   The template data stored in a client’s dedicated environment in the tenant-

segregated database may be accessed by that client, for example, in the event that they need to use

Paycor’s software to: (i) replicate templates on multiple timeclocks at a location within the same

dedicated environment; or (ii) replicate templates on an additional or replacement timeclock within

the same dedicated environment. (Goodwin Decl., Ex. A, ¶¶ 24-25; Dahdaly Dep., Ex. B, 91:19-

92:22).

          32.   When templates are replicated by clients using Paycor’s software, the process

involves no action by Paycor and occurs entirely within the clients’ own dedicated environment

via an automated series of “gets” and “posts” between the clients’ timeclocks and a tenant-

segregated database. (Goodwin Decl., Ex. A, ¶ 25).




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       33.     No templates are disseminated or disclosed when templates are replicated.

(Goodwin Decl., Ex. A, ¶ 25).

       34.     At each of the entities where Plaintiffs worked - Missouri Client 78890 and Illinois

Client 78986 – there was only one timeclock at each location, and there were no additional or

replacement timeclocks installed, so no template replication ever occurred. (Goodwin Decl., Ex.

A, ¶ 24).

       35.     Mr. Dahdaly described Paycor’s storage of template data as akin to a “safety deposit

box that a bank would provide to a customer” where Club Fitness was “in complete control” of

that template data. (Dahdaly Dep., Ex. B, 92:16-22).

       36.     Paycor does not access clients’ dedicated environments without express client

permission. (Goodwin Decl., Ex. A, ¶ ¶ 22-23; Dahdaly Dep., Ex. B, 55:1-20, 91:5-92:22).

       37.     At no time did any Club Fitness entity ever access template data from the tenant-

segregated database or request that Paycor access or provide template data. (Goodwin Decl., Ex.

A, ¶¶ 23-25; Schreimann Decl. in Johns v. Club Fitness, Ex. D ¶ 9).

       38.     At no time did Paycor ever view or access any Club Fitness employee template

data, nor would Paycor have any reason to do so, given that the data consisted only of templates,

i.e. encrypted strings of numbers that have no meaning outside of each client’s own internal

timekeeping processes. (Goodwin Decl., Ex. A, ¶¶ 23-25; Dahdaly Dep., Ex. B, 93:18-94:11).

       39.     There are no Club Fitness work orders requesting that Paycor access any Club

Fitness location’s templates, nor are such work orders likely to exist for other Paycor clients as

there is no business purpose for Paycor to access or view templates. (Goodwin Decl., Ex. A, ¶ 23).

       40.     Paycor did not disseminate or disclose any Club Fitness employee templates, or any

other clients’ templates, to any person or entity. (Goodwin Decl., Ex. A, ¶ 26).




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       41.     Each Club Fitness location had its own dedicated timeclock, and employees could

only record time at, and be paid by, their specific work location. (Goodwin Decl., Ex. A, ¶ 7;

Dahdaly Dep., Ex. B, 134:17-135:13, 136:13-19).

       42.     Plaintiff Johns never used a timeclock provided by Paycor at any Illinois Club

Fitness location. (Goodwin Decl., Ex. A, ¶¶ 8, 12-13; Dahdaly Dep., Ex. B, 134:8-16, 135:2-13,

136:2-12).

       43.     Paycor has no records indicating that Plaintiff Johns ever clocked in or out using a

timeclock leased or purchased from Paycor in Illinois at any time, and no records indicating that

Plaintiff Johns ever clocked in and out in Illinois at all – records that would exist had he done so.

(Goodwin Decl., Ex. A, ¶¶ 8, 12-13).

       44.     Plaintiff Johns only and ever clocked in and out using a PT 100 timeclock leased

by Paycor to Aphel Bill Serv (Client 78890), which is located in Chesterfield, Missouri. (Goodwin

Decl., Ex. A, ¶¶ 8, 12-13).

       45.     Plaintiff Johns clocked in and out of work using this leased PT 100 timeclock in

Chesterfield, Missouri from October 2, 2015 until April 26, 2016. (Goodwin Decl., Ex. A, ¶ 8).

       46.     During the timeframe October 2, 2015 until April 30, 2016, Plaintiff Barron clocked

in and out of work using a PT 100 timeclock leased by Paycor to CF Collinsville LLC (Client

78986), which is located in Collinsville, Illinois. (Goodwin Decl., Ex. A, ¶ 14).

       47.     Effective August 22, 2018, a triggering command was executed whereby all clients

previously marked as “lost” in Paycor’s systems had any template data automatically and

permanently deleted from the client’s dedicated environment. Leased timeclocks that are returned

to Paycor have always been wiped of any remaining data, by pressing the factory re-set button,




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which automatically wipes the clock clean. (Goodwin Decl., Ex. A, ¶ 31; Dahdaly Dep., Ex. B,

110:8-17, 132:15-20).

         48.    No later than August 22, 2018, any template data for employees of all Club Fitness

clients, including Illinois Client 78986 and Missouri Client 78890, was permanently deleted

(Goodwin Decl., Ex. A, ¶ 32). Paycor did not retain this information in any form, in any location.

(Id.).

         49.    Paycor recently obtained summary judgment in a similar case, with that court

holding that Paycor did not possess, collect, obtain, or disclose template data. (Ragsdale, et al. v.

Paycor, Inc., Case No. 2017 CH 13911 (Cir. Ct. Cook Cty.), Ex. E). Exhibit E is publicly available

on that Court’s docket.

         50.    Copies of Plaintiff Johns’ Second Amended Complaint (“SAC”) and Plaintiff’s

Unopposed Motion and Memorandum in Support of Preliminary Approval of Class Action

Settlement in the matter of Kellin Johns, et al. v. Club Fitness of Alton, LLC, et al., Case No. 2018

L 000080 (Madison Cty., Illinois), which are part of the filings available to the public on that

Court’s docket, are attached as Exs. F and G, respectively.

                   INTRODUCTION AND SUMMARY OF ARGUMENTS

         This case is just another attempt by Plaintiffs who suffered no actual injury to weaponize

the Illinois Biometric Information Privacy Act (“BIPA”) to extract money from as many different

parties as possible, including third-parties such as Paycor with whom they have no relationship.

Plaintiffs are two former employees of Club Fitness gyms, which are operated as separate

companies, in Illinois and Missouri. Having already sued several Club Fitness entities under BIPA

and reaching a $750,000 class settlement that included both Plaintiffs here, Plaintiff Johns and his

counsel were unsatisfied. Wanting more, they filed the instant action against Paycor, who merely

provides timeclocks and payroll services to customers such as Club Fitness, asserting the exact


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same claims under BIPA. Plaintiffs allege that, by providing Club Fitness with the timeclocks used

by Club Fitness to track its employees’ time, Paycor is somehow liable for “collecting” and

“disclosing” biometric information. Summary judgment should be granted on all of Plaintiffs’

claims.

          As an initial matter (and as an illustration of the “money-grab” nature of this case), Plaintiff

Johns never even used a timeclock provided by Paycor in Illinois. Paycor’s records establish that

Plaintiff Johns only used a timeclock when he was an hourly Club Fitness employee at a Club

Fitness entity in Missouri. BIPA does not apply extraterritoriality. Summary judgment should be

granted as to Plaintiff Johns.

          More fundamentally, all of Plaintiffs’ asserted BIPA claims fail, as a matter of law, because

the timeclocks at issue do not even collect biometric information. Recent case law has made clear

that BIPA does not apply unless a device implicates biometric information as defined by BIPA,

i.e. information that is actually capable of identifying a person. A device that merely generates

“templates” does not implicate biometric information because a template is merely an encrypted

hash of numbers that is incapable of identifying an individual and is incapable of being reverse-

engineered into a fingerprint or any other form of biometric information. The timeclocks provided

by Paycor fall squarely within this case law. The timeclocks do not collect fingerprints or take

images. Rather, the proprietary algorithm in the timeclocks use the landmarks of a user’s fingertip

to generate a “template,” an encrypted hash of letters, numbers, and symbols. A template cannot

be used to identify an individual, and cannot be reverse-engineered into a fingerprint, finger

geometry, or any other form of biometric information. It is impossible. BIPA does not apply.

          Moreover, even if Plaintiffs’ templates were somehow deemed to be biometric information

under BIPA, each of Plaintiffs’ BIPA claims still fail as a matter of law. Plaintiffs lack standing to




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assert Section 15(a) claims because their template data was permanently destroyed by Paycor

within three (3) years of their last interaction, when Club Fitness ceased being a Paycor client.

       Plaintiffs also cannot establish a Section 15(a) or Section 15(d) claim because Paycor did

not “possess” any biometric information. Possession requires control. Paycor merely provided

each Club Fitness entity a dedicated environment with a tenant-segregated database, where

templates were stored. Paycor cannot access a client’s environment without express permission.

Both Club Fitness and Paycor have unequivocally stated that Club Fitness never asked Paycor to

access templates, and that Paycor never viewed or accessed Club Fitness templates. Paycor has no

control over these templates and has zero reason to access template files containing meaningless

strings of numbers that serve no business purpose for Paycor. Paycor has no control over any

biometric information and therefore “possession” cannot be satisfied.

       Plaintiffs additionally cannot establish a Section 15(b) claim because they cannot show that

Paycor “collected” or “obtained” their biometric information. Paycor merely leased the timeclocks

to the Club Fitness entities, and any collection of data was done exclusively by Club Fitness.

Paycor provided a dedicated environment, including a tenant-segregated database where template

data was passively transmitted and stored, accessible only by each Club Fitness entity. Paycor took

no acts that could qualify as actively collecting or obtaining biometric information.

       Plaintiffs also cannot establish a Section 15(d) claim because there is absolutely no

evidence of any dissemination or disclosure of biometric information. Grasping at straws,

Plaintiffs will assert that Paycor providing each client with a dedicated environment where clients

can store templates already stored on their own timeclocks, somehow constitutes a “disclosure”

under Section 15(d). Plaintiffs’ claims lack any merit. There has been no disclosure – the templates

were collected by individual Club Fitness clients using their own timeclocks, and then separately




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stored within each Club Fitness entity’s dedicated environment, on the timeclocks and on a tenant-

segregated database. Nothing was disclosed or disseminated, because the templates always

remained within the individual Club Fitness client environments. There is also zero evidence that

any template replication, disclosure, or dissemination occurred.

       Finally, Plaintiffs’ claims here are mooted by their settlement with Club Fitness. They have

already recovered a generous settlement from the Club Fitness entities they sued for identical BIPA

claims, asserting that those employers possessed, collected and disclosed their templates. The

actual evidence indisputably shows that Paycor played no role in the collection of templates, and

did not possess or disclose any of Plaintiffs’ purported biometric data.

       This case is an exercise in greed. The Court should put a stop to Plaintiffs’ attempt to

exploit the law in ways that were never intended. All of Plaintiffs’ claims are meritless. Summary

judgment should be granted as to all claims in the Complaint.

                                   APPLICABLE STANDARD

       The Court “shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56. A plaintiff must “set forth specific facts showing that there is a genuine issue for trial.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986). Summary judgment is proper against

“a party who fails to make a showing sufficient to establish the existence of an element essential

to that party’s case, on which that party will bear the burden of proof at trial.” Celotex Corp. v.

Catrett, 477 U.S. 317, 323 (1986). A plaintiff “must do more than simply show that there is some

metaphysical doubt as to the material facts.” PMT Mach. Sales, Inc. v. Yama Seiki USA, Inc., 941

F.3d 325, 328 (7th Cir. 2019).




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                                           ARGUMENT

I.      Summary Judgment Should Be Granted Against Plaintiff Johns Because He Never
        Used a Timeclock Provided by Paycor in Illinois

        “BIPA does not apply extraterritorially.” Hernandez v. Omnitracs, LLC, No. 22-0109,

2024 WL 1376352, at *6 (N.D. Ill. Mar. 31, 2024) (citation omitted). Under Illinois law, a statute

is without extraterritorial effect “unless a clear intent in this respect appears from the express

provisions of the statute.” Id. (citation omitted). BIPA lacks such clear intent. See, e.g., Rivera v.

Google Inc., 238 F. Supp. 3d 1088, 1104 (N.D. Ill. 2017) (BIPA “was not intended to and does not

have extraterritorial application”); Fleury v. Union Pac. R.R. Co., No. 20 C 390, 2023 WL

4549668, at *3 (N.D. Ill. July 14, 2023) (“There is no indication that [BIPA] was intended to have

extra-territorial application.”); Wilk v. Brainshark, Inc., 631 F. Supp. 3d 522, 527 (N.D. Ill. 2022)

(“BIPA does not include language to suggest that the Illinois legislature intended for it to have an

extraterritorial effect.”).

        A plaintiff asserting BIPA claims arising out of the use of a timeclock must establish that

they “scanned [their] fingerprints into [the timeclock] system in Illinois,” and specifically that the

“location of the [employer] at which [they] worked” was located in Illinois. See Neals v. PAR Tech.

Corp., 419 F. Supp. 3d 1088, 1091 (N.D. Ill. 2019).

        Here, the evidence establishes, as a matter of law, that Plaintiff Johns never used a

timeclock provided by Paycor at a Club Fitness location in Illinois. Paycor’s records show that

Plaintiff Johns used a timeclock at one Club Fitness location in Chesterfield, Missouri from

October 2, 2015 until April 26, 2016. (Paycor’s Statement of Material Facts (“SOF”), ¶ 4). There

is no record of Plaintiff Johns ever using a timeclock provided by Paycor at a Club Fitness

location in Illinois, and no record that Plaintiff Johns ever clocked in or out in Illinois at all –

records that would exist had he done so. (SOF, ¶¶ 42-45). Each Club Fitness entity operates



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separately, using its own payroll and timekeeping data. (SOF, ¶¶ 9, 41). Employees could only

record time at, and be paid from, the Club Fitness location where they worked, using that location’s

particular timeclock. (SOF, ¶¶ 9, 41). Club Fitness locations did not share timekeeping or payroll

data between them. (SOF, ¶¶ 9, 41).

       The undisputed facts establish, as a matter of law, that Plaintiff Johns only and ever used a

timeclock leased from Paycor at one Club Fitness entity located in Chesterfield, Missouri. (SOF,

¶¶ 42-45). As such, he cannot show that his biometric data was implicated in any way in Illinois.

BIPA has no extraterritorial effect, and therefore summary judgment should be entered as to all

claims asserted by Plaintiff Johns.

II.    Summary Judgment Should Be Granted On All Claims Because The Timeclocks Do
       Not Implicate Biometric Information Under BIPA

       BIPA regulates only two types of information: “biometric identifiers” and “biometric

information.” 740 ILCS 14/10. Both categories refer only to data that is “used to identify an

individual.” Id. If the data at issue does not have “the ability to identify” a plaintiff, BIPA does not

apply. Zellmer v. Meta Platforms, Inc., 104 F.4th 1117, 1121 (9th Cir. 2024).

       For this reason, courts regularly dismiss BIPA claims where the plaintiff fails to allege—

or ultimately establish—that the defendant’s purported technology is capable of identifying an

individual. See, e.g., G.T. v. Samsung Elecs. Am. Inc., 2024 WL 3520026 at *8 (N.D. Ill. July 24,

2024) (dismissing claims on the grounds that BIPA only regulates information “capable of

identifying an individual,” and therefore “the fact that the App performs face scans is not

dispositive.”); Castelaz v. Estee Lauder Cos., No. 22-5713, 2024 WL 136872, at *6 (N.D. Ill. Jan.

10, 2024) (dismissing claim where the plaintiffs failed to allege the defendant “is capable of

determining Plaintiffs’ . . . identities by using the collected facial scans”); Clarke v. Aveda Corp.,

No. 21-4185, 2023 WL 9119927, at *2 (N.D. Ill. Dec. 1, 2023) (dismissing claim as plaintiffs



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“failed to plead the most foundational aspect of a BIPA claim,” namely that the defendant can

identify them via the collected data); see also Rivera v. Google Inc., 238 F. Supp. 3d 1088, 1094

(N.D. Ill. 2017) (describing biometric identifiers and biometric information as capable of

identifying a person).

       The Ninth Circuit’s decision in Zellmer v. Meta Platforms, Inc. is instructive. 104 F.4th at

1121. There, the plaintiff alleged Meta collected his face geometry when it reduced his photo to a

“face signature” comparable to similar face templates. Id. The plaintiff argued that these “face

signatures” were “biometric identifiers” because they “include the geometric x and y coordinates

within the photo where a person’s face appears, thus calculating the dimensions of the person’s

face.” Id. at 1226. The Ninth Circuit rejected this premise, finding the plaintiff ignored the word

“identifier” in “biometric identifier.” Id. at 1223, 1226. Instead, the Ninth Circuit adopted the

“consensus” view that, under “a fair reading of the statute,” “scans of face geometry” are “not

covered by BIPA if they cannot identify a person.” Id. at 1223, 1125 n. 2.

       The Northern District of Illinois recently reached a similar conclusion in G.T. v. Samsung

Electronics America Inc., 21 CV 4976, 2024 WL 3520026, *8 (N.D. Ill. July 24, 2024). Like

Zellmer, the plaintiff alleged that Samsung’s “Gallery App” analyzes the “unique facial geometry”

of users to “create a unique digital representation of the face, called a ‘face template.’” 2024 WL

3520026 at *1. The Gallery App can then “extract key facial features from the face template and

convert that information into numerical ‘vectors’ based on the facial feature” to group images of

the same person together. Id. The plaintiff argued that, because this practice involved analyzing a

person’s “unique facial geometry,” the resulting face template must qualify as a “biometric

identifier” under BIPA. Id. at *7. The court disagreed, however, holding that BIPA only regulates

information “capable of identifying an individual,” and therefore “the fact that the App performs




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face scans is not dispositive.” Id. As the plaintiff had not alleged that the “App’s technology is

capable of identifying a person’s identity,” the court dismissed the complaint. Id.

       Just as in the above cases, the word “identifier” in BIPA must be given its plain meaning.

And under that plain meaning, “BIPA only covers those . . . ‘fingerprint[s]’ . . . that are capable of

identifying an individual. Therefore, the fact that the [timeclocks] perform [finger] scans is not

dispositive.” G.T., 2024 WL 3520026 at *7. The dispositive question instead is whether the use of

the finger scanner on the timeclocks leased by Paycor results in the collection of a fingerprint or

other biometric information that is capable of identifying an individual. The answer is a resounding

“no.” In fact, it is impossible for a template to identify an individual. (SOF, ¶¶ 21-25).

       Just as in G.T. and Zellmer, the template generated by the use of the finger scanner on the

timeclock creates only an encrypted hash of numbers, letters, and symbols. (SOF, ¶¶ 16-19). That

template is meaningless other than being used to track time by comparing it to the template

generated by an employee’s subsequent use of the same finger scanner. (SOF, ¶¶ 16-19, 38). There

is no way for a template to identify an individual, and there is no way that a template can be

reverse-engineered into a fingerprint or any other form of biometric information. (SOF, ¶¶ 21-25).

It is impossible. (SOF. ¶¶ 21-25). The timeclock does not even take, collect, or store a fingerprint,

an image of a user’s fingerprint or finger geometry, or any other depiction or illustration of a

person’s finger. (SOF, ¶ 23). The second that a user’s finger leaves the scanner, the only

information that exists relating to that scan is the template that is generated. (SOF, ¶ 23). The

timeclock is incapable of creating or producing a fingerprint, image of a user’s fingerprint or finger

geometry, or any other depiction or illustration of a person’s finger. (SOF, ¶¶ 23-24). Further, the

templates that are stored on the timeclocks and in the tenant-segregated database are not stored




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with any personally identifying information, such as employee names, addresses, email addresses,

phone numbers, birthdates or social security numbers. (SOF, ¶ 29).

       Just as in G.T. and Zellmer, merely because the timeclock scans a portion of a person’s

finger does not mean that the timeclock is collecting biometric information for purposes of BIPA

– the timeclock must collect some information that is actually capable of identifying an individual.

That is simply not how any biometric timekeeping technology works. The templates generated by

the timeclocks are merely encrypted strings of numbers that cannot possibly identify a person or

be reverse-engineered into a fingerprint or any other form of biometric information. No fingerprint

or biometric information is collected or stored by the timeclock. Pursuant to the plain language of

BIPA, as confirmed by G.T., Zellmer and their progeny, BIPA does not apply because the

timeclocks do not implicate “biometric information” or “biometric identifiers.” Accordingly,

Plaintiffs are entitled to summary judgment on all claims.

III.   Plaintiffs Cannot Establish Any of Their BIPA Claims as a Matter of Law

       a.      Plaintiffs Lack Standing to Assert Claims Under Section 15(a) Because Their
               Templates Were Destroyed Within Three Years

       BIPA Section 15(a) “requires private entities to destroy biometrics ‘when the initial

purpose for collecting or obtaining [the biometrics] has been satisfied or within 3 years of the

individual’s last interaction with the private entity, whichever occurs first.” Fleury v. Union Pac.

R.R. Co., 20 C 390, 2024 WL 1555848, at *5 (N.D. Ill. Apr. 10, 2024) (citing 740 ILCS 14/15(a)).

Thus, “if [a plaintiff’s] biometrics were properly destroyed within the timeframe established by

the statute, he would not have standing to sue.” Id. at *6 (emphasis added); see also Horn v.

Method Products, PBC, 21 C 5621, 2022 WL 1090887, at *4 (N.D. Ill. Apr. 12, 2022) (holding

that Section 15(a) claims are not ripe until three years after a plaintiff’s biometric information was




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allegedly collected, and that even where such a claim is ripe a plaintiff lacks standing to pursue it

without establishing that biometric data was “unlawfully retained” beyond the statutory period).

       Here, Plaintiff Johns only and ever clocked in and out in Missouri on a timeclock his

employer, Club Fitness company Aphel Bill Serv LC (Client 78890), leased from Paycor, and he

did so only from October 2, 2015 until April 26, 2016. (SOF, ¶¶ 4, 42-45). Plaintiff Barron’s

employer, Club Fitness company CF Collinsville LLC/Client 78986, in turn had him clock in and

out from October 2015 until April 30, 2016, on a clock it leased from Paycor. (SOF, ¶ 46). On

June 1, 2016, Club Fitness became a “lost” customer, i.e. the contractual relationship between

Paycor and the Club Fitness entities ended. (SOF, ¶ 3). Effective August 22, 2018, a triggering

command was executed by Paycor whereby all clients previously marked as “lost” in Paycor’s

systems, including the Club Fitness entities, had any template data automatically and permanently

deleted from the client’s dedicated environment. Leased timeclocks that are returned to Paycor

have always been wiped of any remaining data, by pressing the factory re-set button, which

automatically wipes the clock clean. (SOF, ¶¶ 47-48). Paycor does not retain this information in

any form, in any location. (SOF, ¶ 48).

       Accordingly, because Plaintiffs’ template data was deleted no later than August 22, 2018,

well within three (3) years after Plaintiffs’ last interaction with the timeclocks, Plaintiffs lack

standing to pursue claims under Section 15(a). (SOF, ¶ 48). Summary judgment should therefore

be granted as to Plaintiffs’ Section 15(a) claims.

       b.      Plaintiffs Cannot Establish That Paycor Collected, Captured or Otherwise
               Obtained Their Biometric Data Pursuant to Section 15(b)

       The plain language of Section 15(b) consists of verbs (collect, capture, obtain) that, to

apply, would require a defendant to take some active step or “do something.” Numerous courts

have held that Section 15(b) does not apply to entities who are merely “in possession” of biometric



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information, but rather “an entity must, at a minimum, take an active step to collect, capture,

purchase, or otherwise obtain biometric data.” Jacobs v. Hanwha Techwin America, Inc., 2021

WL 3172967, at *2 (N.D. Ill. July 27, 2021); see also G.T. v. Samsung Elecs. Am. Inc., 21 CV

4976, 2024 WL 3520026, at *5 (N.D. Ill. July 24, 2024) (“Collectively, all these verbs ‘mean to

gain control’ of Biometrics. This requires the defendant to make an affirmative effort—to take

an ‘active step’—towards receiving the Biometrics.” (emphasis added)); Jones v. Microsoft Corp.,

649 F. Supp. 3d 679, 683 (N.D. Ill. 2023) (“Although BIPA does not say the words ‘active step,’

this concept simply describes the unifying characteristic among the verbs in the statute.”

(emphasis added)); Stauffer v. Innovative Heights Fairview Heights, LLC, No. 20-cv-00046, 2022

WL 3139507 (S.D. Ill. Aug. 5, 2022) (requiring active step by defendant under §15(b)); Kloss v.

Acuant, Inc., 462 F. Supp. 3d 873, 877 (N.D. Ill. 2021); Heard, 440 F. Supp. 3d at 966

(“[A]ffirmative act” required to state a claim under Section 15(b)); Namuwonge v. Kronos, Inc.,

418 F. Supp. 3d 279, 286 (N.D. Ill. 2019) (“Brookdale collected the fingerprints using a system

that Kronos supplied to Brookdale. Together, these allegations do not plausibly allege that Kronos

collected, captured, or otherwise obtained Namuwonge's biometric information.”).

        Paycor was recently granted summary judgment in a similar case on the grounds that it did

not collect or obtain biometric information. (Ragsdale, et al. v. Paycor, Inc., Case No. 2017 CH

13911 (Cir. Ct. Cook Cty., Ex. E to SOF). In Ragsdale, Paycor also leased timeclocks to the

plaintiffs’ employers, and the Court found the employer, not Paycor, was the party “collecting”

the alleged biometric information. (Id. at pp. 4-6). As the Court reasoned, “it is clear that Paycor

did not actively seek out or collect the biometric data,” and there is no evidence that Paycor

“actively enrolled plaintiffs in purported biometric technology” or exercised a “high level of

control . . . over the biometric time clock.” (Id. at p. 6).




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         The same reasoning applies here. Paycor had absolutely no involvement in the actual

collection or obtaining of Plaintiffs’ alleged biometric information. Quite the contrary, after

delivering the timeclocks, each Club Fitness entity exclusively controlled and oversaw the use of

the timeclocks – Paycor had no further involvement and was not involved in enrolling employee

templates. (SOF, ¶¶ 12-14). On a location-by-location basis, Club Fitness decided whether to even

use finger-sensors at all in the timekeeping process, versus the many other available timekeeping

options. (SOF, ¶ 11). Club Fitness had full control over the timeclocks. (SOF, ¶ 12). After a new

user was enrolled, their template continuously remained within each Club Fitness location’s

dedicated environment, on the location’s timeclock and in the tenant-segregated database for that

Club Fitness entity’s exclusive use. (SOF, ¶¶ 27-31). At no point in the process did Paycor collect

or obtain any purported biometric information, much less actively so. The client is enrolling,

registering, and scanning new user’s fingers and then that data is being passively transmitted within

the client’s own dedicated environment. Paycor took no steps at all, much less any “active step,”

to collect Plaintiffs’ templates. Summary judgment should be granted on Plaintiffs’ Section 15(b)

claim.

         c.    Plaintiffs Cannot Establish that Paycor Possessed their Biometric Data
               Pursuant to Section 15(a) or Section 15(d)

         In order to maintain claims under Section 15(a) and (d), Plaintiffs must be able to

demonstrate that Paycor “possessed” their biometric data. See 740 ILCS 14/15(a) (requiring

entities in “possession” of biometric information to develop a retention schedule and destruction

policy for the data and to timely destroy the data); 15(d) (“No private entity in possession of a

biometric identifier or biometric information may disclose, redisclose, or otherwise disseminate a

person's or a customer's biometric identifier or biometric information. . . .” (emphasis added)).




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        Possession means “the act of having or taking control.” Barnett v. Apple, 2022 IL App (1st)

220187 at ¶¶ 41-42. In a precedential decision, Barnett applied common dictionary definitions to

conclude that Apple did not “have control” of plaintiffs’ data sufficient to constitute “possession”

under BIPA. Id. Federal courts have similarly held that possession under BIPA exists only where

a defendant “exercised control over plaintiff’s data or otherwise held plaintiff’s data at its

disposal.” See, e.g. Jacobs, 2021 WL 3172967, at *3 (N.D. Ill. July 27, 2021) (dismissing Section

15(a) and (d) claims where the plaintiff failed to allege “whether defendant could freely access the

data, or even how defendant allegedly received it.”).

        Paycor was recently granted summary judgment in a similar case on the grounds that it did

not “possess” biometric information, applying Barnett’s precedential definition of possession as

“control.” (Ragsdale, et al. v. Paycor, Inc., Case No. 2017 CH 13911, Ex. E to SOF). The Ragsdale

opinion rejected the plaintiffs’ claims that Paycor “possessed” the data simply because Paycor

theoretically could access the plaintiffs’ template data, but had never done so, noting: “[w]hile

Plaintiffs would have the Court believe possession is broad and encompasses the possibility of

possession, the Court declines to apply that broad definition.” (Id. at p. 3). Ragsdale required a

showing of actual “control” of data, particularly at the summary judgment stage, where “plaintiffs

are required to put forth evidence, not theories and potentialities.” (Id. at p. 4).

        Plaintiffs cannot prove “possession” and thus are unable to withstand summary judgment.

The template data for Plaintiffs was stored solely within each Club Fitness client’s dedicated

environment, on the timeclock itself and in a tenant-segregated database. (SOF, ¶¶ 26-31). Both

Paycor and Club Fitness have provided sworn testimony that templates were accessible only by

Club Fitness and at Club Fitness’ direction, and that neither Club Fitness nor Paycor ever accessed




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the templates. (SOF, ¶¶ 34-39). Theoretical access is not sufficient to establish possession under

BIPA to state Section 15(a) or Section 15(d) claims. (See Ragsdale, Ex. E to SOF).

       Nor does providing a client with its own, restricted storage space convert Paycor into a

“possessor” of templates or any other biometric data. Courts have repeatedly found that passive

storage is insufficient to meet the “possession” requirement. See Heard, 440 F. Supp. 3d at 968

(“Only one paragraph of the Complaint provides more detail: it states that…BD subsequently

stored [Heard’s] fingerprint data in their systems. This allegation does not plead that BD exercised

any form of control over the data or that it held the data at [its] disposal.”); Jones, 649 F. Supp. 3d

at 684 (merely providing a “cloud computing storage platform” did “not constitute an active step

or affirmative act”); Jacobs, No. 21 C 866, 2021 WL 3172967 at *3 (dismissing Section 15(b)

claim where the defendant was not the “active collector” but rather “merely provided the cameras”

that another entity allegedly used to collect biometric data).

       Providing customers with their own passive storage space does not equate to Paycor having

“control” of the purported biometric information or holding it at its disposal because Paycor did

not do anything with that information. Compare Heard v. Becton, Dickson & Co., 440 F. Supp.

3d 960, 968 (N.D. Ill. 2020) (finding allegations that defendant stored biometric information on

its servers did not allege possession because it did not show that defendant “exercised any form of

control over the data or that it held the data at its disposal” (internal quotation marks and citations

omitted) with Heard v. Becton, Dickson & Co., 524 F. Supp. 3d 831, 840 (N.D. Ill. 2021) (finding

amended allegations that “users’ biometric data flows back to [defendant’s] servers (and

potentially third-party data centers …for analysis and support services” was sufficient to plead

“possession” under BIPA) (emphasis added). Paycor did not perform any “analysis and support

services” on the template data – rather, it is undisputed that Paycor did nothing with the data and




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never even accessed it, and it would have no reason to do so given it consists of meaningless strings

of numbers that serve no business purpose for Paycor. (SOF, ¶¶ 38-39).

        Here, the Club Fitness entities’ storage of their own template data on a tenant-segregated

database is akin to a bank safety deposit box. (SOF, ¶ 35). The bank does not have ready access to

or control over what is stored inside a safety deposit box – only the customer does. See David v.

Ridgely-Farmers Safe Deposit Co., 342 Ill. App. 96, 114 (3d Dist. 1950) (noting that a bank does

not have the right to transfer the title to property in a safety deposit box). Similarly here, only Club

Fitness had access and control over the template data stored in the tenant-segregated database.

(SOF, ¶¶ 36-39). Plaintiffs cannot establish that Paycor “possessed” the template data, and

therefore summary judgment should be granted as to Plaintiffs’ Section 15(a) and (d) claims.

        d.      Plaintiffs Cannot Establish that Paycor Disclosed, Redisclosed, or Otherwise
                Disseminated Their Biometric Data Pursuant to Section 15(d)

        Plaintiffs’ Section 15(d) claim also fails because there is absolutely no evidence that Paycor

ever disclosed or disseminated Plaintiffs’ alleged biometric information to any third party.

        Plaintiffs must allege that Paycor disclosed – meaning actually “revealed” or “exposed”

(Merriam-Webster (2018)) – their data to a third party. It is insufficient to allege that Paycor

“allowed” biometric information to be sent to “vendors for timekeeping, data storage, and payroll

purposes” because these are “form[s] of mere transmission” that fall under the ambit of section

15(e), not section 15(d). See Jacobs v. Hanwha Techwin Am., Inc., No. 21 C 866, 2021 WL

3172967, at *4 (N.D. Ill. July 27, 2021) (dismissing a Section 15(d) claim because plaintiff had

not presented “any legitimate reason to suspect that defendant disclosed his biometric data”); see

also Bernal v. ADP, LLC, No. 2017-CH-12364, 2019 WL 5028609 (Ill. Cir. Ct. Aug. 23, 2019)

(dismissing Section 15(d) claim against payroll and timekeeping provider ADP because allowing




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biometric data to be sent to “vendors for timekeeping, data storage, and payroll purposes” is not

disclosure, but is simply a “form of mere transmission.”)

       Recognizing that they have no evidence of any disclosure to a third party, Plaintiffs will

argue that Paycor violated Section 15(d) by sending the template data – data that the Club Fitness

entities already collected and possessed – back to Club Fitness from the tenant-segregated

database. Plaintiffs’ claim is nonsensical. First, Paycor cannot “disclose” information if the

recipient of that data already possesses it. Club Fitness enrolled its own employees, and the

template data is generated immediately upon enrollment and stored locally on the timeclock. (SOF,

¶¶ 23, 26). Such information cannot be “revealed” or “exposed” to the Club Fitness entities by

Paycor when those Club Fitness entities already possessed that very same information.

       Second, no such disclosure ever occurred, according to the record evidence. Each Club

Fitness’ template data remained within its own dedicated environment, in the tenant-segregated

database, and on each location’s timeclock. (SOF, ¶¶ 26-27). There is no evidence that any outside

disclosure ever took place and in fact, much evidence that it did not. Club Fitness’ CEO averred

that Club Fitness never accessed or received any biometric data from Paycor, or asked Paycor to

access templates. (SOF, ¶ 37). Paycor never accessed any Club Fitness templates. (SOF, ¶¶ 36-

38). Paycor software was never used to replicate templates. (SOF, ¶¶ 34, 39). It is also undisputed

that Paycor never provided template data from the Club Fitness entities’ tenant-segregated

database to Club Fitness or to any other third party. (SOF, ¶ 40). Summary judgment should be

granted on Plaintiffs’ Section 15(d) claim.

IV.    Plaintiffs’ Claims Are Moot Because they Already Recovered From the Club Fitness
       Entities, the Sole Parties that Conceivably Violated BIPA

       While it is true that a plaintiff may assert separate BIPA claims against multiple parties, at

the summary judgment stage a plaintiff must put forth actual evidence that each of those parties



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separately violated BIPA. See, e.g., Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986) (summary

judgment should be granted where “a party who fails to make a showing sufficient to establish the

existence of an element essential to that party’s case, on which that party will bear the burden of

proof at trial.”); see also Klier v. Siegel, 200 Ill. App. 3d 121, 127 (2d Dist. 1990) (“Illinois has a

strong public policy against a plaintiff’s double recovery for the same injury”). Discovery has

established, beyond any doubt, that the Club Fitness entities are the sole parties here that

conceivably violated BIPA. And Plaintiffs have already recovered a generous settlement from

Club Fitness. Absent any evidence that Paycor separately violated BIPA, Plaintiffs should not be

permitted to a windfall, double-recovery for their identical BIPA claims.

       Plaintiff Johns was the named plaintiff in a separate BIPA lawsuit that was filed against

the Club Fitness entities. (SOF, ¶ 50). Plaintiff Johns’ case against Club Fitness asserted, in

allegations nearly identical to those put forth here, that his former Club Fitness entity employer

violated the same BIPA provisions that are at issue in this case. (Id.). On October 14, 2020, Plaintiff

Johns’ case against Club Fitness received final approval for a class action settlement. The

settlement included a payment to each member of the following class:

       All individuals who worked or are currently working for any [Club Fitness entity]
       in the State of Illinois who had their fingerprint data and/or any other biometric
       identifier collected, captured, received, stored or otherwise obtained, retained,
       disseminated, or disclosed by any [Club Fitness entity] at any time within the five-
       year period preceding the date the Complaint was filed to the date of Preliminary
       Approval and who do not timely opt-out of the settlement.

(Id.). Both Plaintiffs are members of this class – Plaintiff Johns as the named plaintiff, and

Plaintiff Barron as an unnamed individual who, per his allegations in this case, worked at certain

Club Fitness locations during the relevant time period. (Id.) Consequently, each has already

recovered for the alleged BIPA violations that they now purport to bring.




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       Despite already alleging that their former Club Fitness entity employers improperly

collected their alleged biometric data through the use of the timeclocks in question here,

Plaintiffs simultaneously allege in this case that the same actions magically resulted in Paycor

committing the same violations. Plaintiffs will predictably assert that BIPA obligations are not

limited to an employer and that BIPA claims may be asserted against multiple parties. The

problem for Plaintiffs is that there is absolutely no evidence that Paycor was involved in any

way in the alleged conduct giving rise to their BIPA claims. Rather, the Club Fitness entities

are the only parties that conceivably violated BIPA here, and Plaintiffs have recovered already

from Club Fitness.

       As discussed throughout this brief, Paycor’s only involvement here was providing the

timeclocks and associated payroll services to the Club Fitness entities. (SOF, ¶ 12). After

delivering the timeclocks, each Club Fitness entity exclusively controlled and oversaw the use

of the timeclocks – Paycor had no further involvement and was not involved in enrolling

employee templates. (SOF, ¶¶ 12-14). On a location-by-location basis, Club Fitness decided

whether to even use finger-sensors at all in the timekeeping process, versus the many other

available timekeeping options. (SOF, ¶ 11). Club Fitness had full control over the timeclocks.

(SOF, ¶¶ 12-14). After a new user was enrolled, their template continuously remained within

each Club Fitness location’s dedicated environment, on the location’s timeclock and in the

tenant-segregated database, for each Club Fitness entity’s exclusive use. (SOF, ¶¶ 27-31). Paycor

never accessed any Club Fitness template data. (SOF, ¶¶ 36-40). Nor did Paycor ever disclose

or disseminate Club Fitness template data to any Club Fitness entity or other third party. (SOF,

¶¶ 36-40).




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       Paycor simply had no role, whatsoever, in any alleged acts involving biometric data. To

the extent templates are deemed to be biometric data, Club Fitness is the only party that could

have collected the templates given the Club Fitness entities’ exclusive control over the

timeclocks. Club Fitness is the only party that could have disclosed the templates given that the

templates were immediately created upon enrollment and always in the possession of the Club

Fitness entities on the timeclocks and in the tenant-segregated database. Club Fitness is the only

party that was responsible for and allegedly failed to have a BIPA-compliant policy.

       Plaintiffs have already recovered from the only parties responsible for the identical BIPA

violations they have asserted in Johns v. Club Fitness and in this case. The Club Fitness entities’

alleged misconduct is not attributable to Paycor merely because Paycor leased the timeclocks to

the Club Fitness entities. There is no evidence, whatsoever, of any involvement by Paycor in the

handling of biometric data, let alone any BIPA violation. Plaintiffs’ claims are therefore moot,

and fail as a matter of law. This Court should grant summary judgment and put a stop to

Plaintiffs’ not-so-veiled attempt to weaponize BIPA and obtain a windfall, double recovery.

       WHEREFORE, for the forgoing reasons, Defendant, Paycor, Inc., respectfully requests

that the Court grant its Motion, enter judgment in its favor on all counts of Plaintiffs Kellin Johns

and Juan Barron’s First Amended Class Action Complaint, and grant Defendant such other and

further relief that the Court deems equitable and just.

Dated: September 17, 2024                              Respectfully Submitted,

                                                          PAYCOR, INC.

                                                       /s/ Melissa A. Siebert

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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 17, 2024, I caused a true and correct copy of the

foregoing to be electronically filed with the Clerk via the Court’s CM/ECF system, which will

notify all counsel of record.


                                                  /s/ Melissa A. Siebert
